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 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
     TENLEY HARDIN, individually and ) Case No.
11
     on behalf of all others similarly )
12   situated,                         ) CLASS ACTION
13                                     )
     Plaintiff,                        ) COMPLAINT FOR DAMAGES AND
14                                     ) INJUNCTIVE RELIEF PURSUANT
15          vs.                        ) TO THE TELEPHONE CONSUMER
                                       ) PROTECTION ACT, 47 U.S.C. § 227,
16
                                       ) ET SEQ.
17   PREMIUM MERCHANT FUNDING )
18   ONE, LLC, and DOES 1 through 10, ) DEMAND FOR JURY TRIAL
     inclusive, and each of them,      )
19                                     )
20   Defendants.                       )
                                       )
21
22         Plaintiff, TENLEY HARDIN (“Plaintiff”), individually and on behalf of all
23   others similarly situated, allege the following upon information and belief based
24   upon personal knowledge:
25                                    INTRODUCTION
26         1.     TENLEY HARDIN (“Plaintiff”) bring this Class Action Complaint
27   for damages, injunctive relief, and any other available legal or equitable remedies,
28   resulting from the illegal actions of PREMIUM MERCHANT FUNDING ONE,


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 1   LLC (“Defendants”), in negligently contacting Plaintiff on Plaintiff’s cellular
 2   telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227
 3   et seq., (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows
 4   upon personal knowledge as to himself and his own acts and experiences, and, as
 5   to all other matters, upon information and belief, including investigation conducted
 6
     by their attorneys.
 7
           2.     The TCPA was designed to prevent calls and messages like the ones
 8
     described within this complaint, and to protect the privacy of citizens like Plaintiff.
 9
     “Voluminous consumer complaints about abuses of telephone technology – for
10
     example, computerized calls dispatched to private homes – prompted Congress to
11
     pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
12
           3.     In enacting the TCPA, Congress intended to give consumers a choice
13
14
     as to how creditors and telemarketers may call them, and made specific findings

15   that “[t]echnologies that might allow consumers to avoid receiving such calls are

16   not universally available, are costly, are unlikely to be enforced, or place an
17   inordinate burden on the consumer.       TCPA, Pub.L. No. 102–243, § 11. Toward
18   this end, Congress found that
19
20                [b]anning such automated or prerecorded telephone calls to the home,
                  except when the receiving party consents to receiving the call or when
21                such calls are necessary in an emergency situation affecting the health
22                and safety of the consumer, is the only effective means of protecting
                  telephone consumers from this nuisance and privacy invasion.
23
24   Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
25   3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s
26   purpose).
27
           4.     Congress also specifically found that “the evidence presented to the
28
     Congress indicates that automated or prerecorded calls are a nuisance and an


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 1   invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See also,
 2   Mims, 132 S. Ct. at 744.
 3         5.     As Judge Easterbrook of the Seventh Circuit recently explained in a
 4   TCPA case regarding calls to a non-debtor similar to this one:
 5
 6                The Telephone Consumer Protection Act … is well known for its
 7                provisions limiting junk-fax transmissions. A less-litigated part of the
                  Act curtails the use of automated dialers and prerecorded messages to
 8                cell phones, whose subscribers often are billed by the minute as soon
 9                as the call is answered—and routing a call to voicemail counts as
                  answering the call. An automated call to a landline phone can be an
10
                  annoyance; an automated call to a cell phone adds expense to
11                annoyance.
12         Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
13         6.     The Ninth Circuit recently affirmed certification of a TCPA class case
14   remarkably similar to this one in Meyer v. Portfolio Recovery Associates, LLC, __
15   F.3d__, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
16                                   JURISDICTION AND VENUE
17         7.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
18
     a resident of California, seeks relief on behalf of a Class, which will result in at
19
     least one class member belonging to a different state than that of Defendants,
20
     individuals residing in New York and doing business in California. Plaintiff also
21
     seeks $1,500.00 in damages for each call in violation of the TCPA, which, when
22
     aggregated among a proposed class in the thousands, exceeds the $5,000,000.00
23
     threshold for federal court jurisdiction. Therefore, both diversity jurisdiction and
24
     the damages threshold under the Class Action Fairness Act of 2005 (“CAFA”) are
25
26
     present, and this Court has jurisdiction.

27         8.     Venue is proper in the United States District Court for the Central

28   District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because



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 1   Defendants are subject to personal jurisdiction in the County of Los Angeles, State
 2   of California.
 3                                            PARTIES
 4         9.     Plaintiff, TENLEY HARDIN (“Plaintiff”), is, and at all times
 5   mentioned herein was, a citizen and resident of the city of Venice, State of
 6
     California. Plaintiff is, and at all times mentioned herein was, a “person” as defined
 7
     by 47 U.S.C. § 153 (39).
 8
           10.    Defendant, QUICK CAPITAL FUNDING, LLC (hereinafter
 9
     “Defendant QCF” or “QCF”), is a finance lender company and is a “person” as
10
     defined by 47 U.S.C. § 153 (39).
11
           11.    Plaintiff is informed and believes, and thereon alleges, that
12
     Defendants are, and at all times mentioned herein were, individuals who reside in
13
14
     the State of New York and do business within the State of California. Defendants,

15   are and at all times mentioned herein were “persons,” as defined by 47 U.S.C. §

16   153 (39). Defendants provide dental restoring and enhancing services. Plaintiff
17   alleges that at all times relevant herein Defendants conducted business in the State
18   of California and in the County of Los Angeles, and within this judicial district.
19         12.    The above named Defendant, and its subsidiaries and agents, are
20   collectively referred to as “Defendants.” The true names and capacities of the
21   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
22   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
23   names. Each of the Defendants designated herein as a DOE is legally responsible
24   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
25
     Complaint to reflect the true names and capacities of the DOE Defendants when
26
     such identities become known.
27
           13.    Plaintiff are informed and believe that at all relevant times, each and
28
     every Defendant was acting as an agent and/or employee of each of the other

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 1   Defendants and was acting within the course and scope of said agency and/or
 2   employment with the full knowledge and consent of each of the other Defendants.
 3   Plaintiff are informed and believe that each of the acts and/or omissions complained
 4   of herein was made known to, and ratified by, each of the other Defendants.
 5                                FACTUAL ALLEGATIONS
 6
           14.     At all times relevant Defendants conducted business in the State of
 7
     California and in the County of Los Angeles, within this judicial district.
 8
           15.     On or about October of 2018, Plaintiff received a text message from
 9
     Defendants on her cellular telephone, number ending in -2480.
10
           16.     During this time, Defendants began to use Plaintiff’s cellular
11
     telephone for the purpose of sending Plaintiff spam advertisements and/or
12
     promotional offers, via text messages, including a text message sent to and received
13
14
     by Plaintiff on or about October 11, 2018.

15         17.     On October 11, 2018, Plaintiff received a text message from

16   Defendants that read:
17
                 “Hey Tenly, It’s Jim from Premium. My firm just rolled out a
18               line of credit opportunity with a monthly payments option.
19
                 Wanted to run the idea passed you maybe you have debt you
                 want to consolidate or even use at working capital? Would you
20               be interested?”
21         18.     These text messages placed to Plaintiff’s cellular telephone were
22   placed via an “automatic telephone dialing system,” (“ATDS”) as defined by 47
23   U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
24
           19.     The telephone number that Defendants, or their agent called was
25
     assigned to a cellular telephone service for which Plaintiff incurs a charge for
26
     incoming calls pursuant to 47 U.S.C. § 227 (b)(1).
27
28



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 1         20.      These telephone calls constituted calls that were not for emergency
 2   purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
 3         21.      Plaintiff was never a customer of Defendants and never provided his
 4   cellular telephone number Defendants for any reason whatsoever. Accordingly,
 5   Defendants and their agents never received Plaintiffs prior express consent to
 6
     receive unsolicited text messages, pursuant to 47 U.S.C. § 227 (b)(1)(A).
 7
           22.      These telephone calls by Defendant, or its agents, violated 47 U.S.C.
 8
     § 227(b)(1).
 9
                                 CLASS ACTION ALLEGATIONS
10
           23.      Plaintiff brings this action on behalf of herself and on behalf of and all
11
     others similarly situated (“the Class”).
12
           24.      Plaintiff represents, and is a member of, the Class, consisting of all
13
14
     persons within the United States who received any unsolicited text messages from

15   Defendants which text message was not made for emergency purposes or with the

16   recipient’s prior express consent within the four years prior to the filing of this
17   Complaint.
18         25.      Defendants and their employees or agents are excluded from the
19   Class. Plaintiff does not know the number of members in the Class, but believes
20   the Class members number in the hundreds of thousands, if not more. Thus, this
21   matter should be certified as a Class action to assist in the expeditious litigation of
22   this matter.
23         26.      Plaintiff and members of the Class were harmed by the acts of
24   Defendants in at least the following ways: Defendants, either directly or through
25
     their agents, illegally contacted Plaintiff and the Class members via their cellular
26
     telephones by using marketing and text messages, thereby causing Plaintiff and the
27
     Class members to incur certain cellular telephone charges or reduce cellular
28
     telephone time for which Plaintiff and the Class members previously paid, and

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 1   invading the privacy of said Plaintiff and the Class members. Plaintiff and the
 2   Class members were damaged thereby.
 3         27.    This suit seeks only damages and injunctive relief for recovery of
 4   economic injury on behalf of the Class, and it expressly is not intended to request
 5   any recovery for personal injury and claims related thereto. Plaintiff reserves the
 6
     right to expand the Class definition to seek recovery on behalf of additional persons
 7
     as warranted as facts are learned in further investigation and discovery.
 8
           28.    The joinder of the Class members is impractical and the disposition of
 9
     their claims in the Class action will provide substantial benefits both to the parties
10
     and to the court. The Class can be identified through Defendants’ records or
11
     Defendants’ agents’ records.
12
           29.    There is a well-defined community of interest in the questions of law
13
14
     and fact involved affecting the parties to be represented. The questions of law and

15   fact to the Class predominate over questions which may affect individual Class

16   members, including the following:
17          a)    Whether, within the four years prior to the filing of this Complaint,
18                Defendants or their agents sent any text messages to the Class (other
19                than a message made for emergency purposes or made with the prior
20                express consent of the called party) to a Class member using any
21                automatic dialing system to any telephone number assigned to a
22                cellular phone service;
23          b)    Whether Plaintiff and the Class members were damaged thereby, and
24                the extent of damages for such violation; and
25
            c)    Whether Defendants and their agents should be enjoined from
26
                  engaging in such conduct in the future.
27
           30.    As a person that received at least one marketing and text message
28
     without Plaintiff’s prior express consent, Plaintiff is asserting claims that are

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 1   typical of the Class. Plaintiff will fairly and adequately represent and protect the
 2   interests of the Class in that Plaintiff has no interests antagonistic to any member
 3   of the Class.
 4         31.       Plaintiff and the members of the Class have all suffered irreparable
 5   harm as a result of the Defendants’ unlawful and wrongful conduct. Absent a class
 6
     action, the Class will continue to face the potential for irreparable harm. In
 7
     addition, these violations of law will be allowed to proceed without remedy and
 8
     Defendants will likely continue such illegal conduct. Because of the size of the
 9
     individual Class member’s claims, few, if any, Class members could afford to seek
10
     legal redress for the wrongs complained of herein.
11
           32.       Plaintiff has retained counsel experienced in handling class action
12
     claims and claims involving violations of the Telephone Consumer Protection Act.
13
14
           33.       A class action is a superior method for the fair and efficient

15   adjudication of this controversy. Class-wide damages are essential to induce

16   Defendants to comply with federal and California law. The interest of Class
17   members in individually controlling the prosecution of separate claims against
18   Defendants are small because the maximum statutory damages in an individual
19   action for violation of privacy are minimal. Management of these claims is likely
20   to present significantly fewer difficulties than those presented in many class claims.
21         34.       Defendants have acted on grounds generally applicable to the Class,
22   thereby making appropriate final injunctive relief and corresponding declaratory
23   relief with respect to the Class as a whole.
24   ///
25
     ///
26
     ///
27
     ///
28
     ///

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 1                               FIRST CAUSE OF ACTION
 2    NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
 3                                47 U.S.C. § 227 ET SEQ.
 4          35.   Plaintiff incorporates by reference all of the above paragraphs of this
 5   Complaint as though fully stated herein.
 6
            36.   The foregoing acts and omissions of Defendants constitute numerous
 7
     and multiple negligent violations of the TCPA, including but not limited to each
 8
     and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
 9
            37.   As a result of Defendants’ negligent violations of 47 U.S.C. § 227 et
10
     seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory
11
     damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
12
            38.   Plaintiff and the Class are also entitled to and seek injunctive relief
13
14
     prohibiting such conduct in the future.

15                              SECOND CAUSE OF ACTION

16                   KNOWING AND/OR WILLFUL VIOLATIONS OF THE
17                      TELEPHONE CONSUMER PROTECTION ACT
18                                47 U.S.C. § 227 ET SEQ.
19          39.   Plaintiff incorporates by reference all of the above paragraphs of this
20   Complaint as though fully stated herein.
21          40.   The foregoing acts and omissions of Defendants constitute numerous
22   and multiple knowing and/or willful violations of the TCPA, including but not
23   limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
24   seq.
25
            41.   As a result of Defendants’ knowing and/or willful violations of 47
26
     U.S.C. § 227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00
27
     in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
28
     227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

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 1          42.    Plaintiff and the Class are also entitled to and seek injunctive relief
 2    prohibiting such conduct in the future.
 3                                  PRAYER FOR RELIEF
 4          Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The
 5    Class members the following relief against Defendants:
 6
                  FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
 7
                            THE TCPA, 47 U.S.C. § 227 ET SEQ.
 8
            • As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b)(1),
 9
               Plaintiff seeks for himself and each Class member $500.00 in statutory
10
               damages, for each and every violation, pursuant to 47 U.S.C. §
11
               227(b)(3)(B).
12
            • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
13
14
               conduct in the future.

15          • Any other relief the Court may deem just and proper.

16                SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
17                          THE TCPA, 47 U.S.C. § 227 ET SEQ.

18          • As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b)(1),
19             Plaintiff seeks for himself and each Class member $1500.00 in statutory
20             damages, for each and every violation, pursuant to 47 U.S.C. §
21             227(b)(3)(B).
22          • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
23             conduct in the future.
24          • Any other relief the Court may deem just and proper.
25
      ///
26
      ///
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      ///

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 1                                       TRIAL BY JURY
 2           43. Pursuant to the seventh amendment to the Constitution of the United
      States of America, Plaintiff is entitled to, and demands, a trial by jury.
 3
 4          Respectfully Submitted this 28th day of August, 2019.
 5
 6                                   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 7
 8                                    By: /s/ Todd M. Friedman
                                          Todd M. Friedman
 9
                                          Law Offices of Todd M. Friedman
10                                        Attorney for Plaintiff
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